Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 1 of 47. PageID #: 395755




            PSJ14 Janssen Opp Exh 53 – JAN-MS-00368809
  Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 2 of 47. PageID #: 395756




Advocacy, Policy, Quality Activities


  Engage advocacy to help define patient
    treatment success & access pain
          management options
                             Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 3 of 47. PageID #: 395757
Strategies & Executional Drivers-Advocacy

                                                                                                                                     Strengthen differentiation
    Elevate definition of                         Drive favorable and                           Accelerate trial
                                                                                                                                    through new & compelling
     pain mgt success                             competitive access                             and adoption
                                                                                                                                             evidence




                                                                        Executional Drivers
• Sponsorship /Partnership Support (APS, • Sponsorships for Local Partners-            • Leverage resources to maximize      • Generate substantial evidence
  AAPM (Med,) AAPM (Management),           Fed/State issues-REMS, PDMPs, Abuse           reach & frequency in key Community (patient outcomes) to strengthen
  ASPMN, AAFP, AAHPM, APF, ACPA,           issues                                        of Care Advocacy segments             value proposition
  Neuropathy Association, AOA, ASPI,     • Sponsorships for special interest
  ACR, AGS), other specialty orgs.
                                                                                       • Cultivate  new multidisciplinary       • REMS/Addiction Med
                                           activities-ONDCP; Partnership for drug
                                           free; Capital Hill activities (DEA, others)
                                                                                         advocates to deliver programs
• Extend Programs w Local Reach –Let’s                                                   (Palliative Care, Onc, Rheum, Neuro    • PDMPs
  Talk Pain; Smart Moves; Prescribe      • Steady Advocacy Outreach via HPADs,           Associations)
  Responsibly; High Risk/Young Lives       partners (Convergence-COBI)                                                          • E-prescribing/ TOOL/C-II
                                                                                           • Advance local market capabilities to
• Support GHLF “Taking Charge of Pain”        • Quality-and policy focused sponsorships      identify and engage non-traditional      •   EMR-Pilot
  patient events-target ethnic populations      to further patient outcomes                  Advocacy stakeholders who affect
                                                                                                                                      •   HC Literacy
  (disparities)                               • Utilize internal and external stakeholders   pain management decisions
                                                to influence appropriate use policy          (payers/policymakers)                    •   HC Disparities
• Facilitate Working Group Partnerships         towards scheduled TAs
  with key Partners (Checklists, resources,
  tool generation)

                                                                                                                                                               2
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 4 of 47. PageID #: 395758




JCR: PAIN SOLUTIONS INITIATIVE 2010-11
 Project Mission:
     JCR and a panel of pain management experts will collaborate, create and
      document exemplary best practice solutions from 6 US hospitals to design
      and/or synthesize research based pain management practices that can be
      spread across hospitals for targeted improvement in the management of
      chronic pain.
   Project Vision:
     Standardize approaches and successfully market best practice solutions for
      chronic pain across the US.
     JCR is interested in bringing best practices in the management of chronic
      pain across the care continuum to the healthcare community at large.
    Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 5 of 47. PageID #: 395759




2010 Eight-Event Report & 2011 Budget
                                   June 26, 2010
               Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 6 of 47. PageID #: 395760




Sponsorships-Advocacy Support
   American Pain Foundation RT Dues
   American Pain Foundation Safe Use
   American Pain Foundation Outreach
   American Pain Foundation Action Network
   American Pain Foundation Pt./Caregiver
   American Pain Foundation Program Support
   American Pain Foundation REMS
   American Pain Foundation Regional Market Support
   American Pain Society Program Outreach
   American Pain Society RT Dues
   American Academy of Pain Medicine RT Dues
   American Academy of Pain Medicine Advocacy
   American Academy of Pain Medicine Advocacy
   American Academy of Pain Management Outreach
   American Academy of Pain Management RT Dues
   American Academy of Family Physicians
   American Academy of Hosp/Palliative Med Dues
   American Chronic Pain Outreach
   American Chronic Pain Association Dues
                  Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 7 of 47. PageID #: 395761




Sponsorships-Advocacy Support
   NASCSA
   Alliance of State Pain Initiatives Advocacy
   American Society for Pain Management Nursing
   Neuropathy Association
   AGS Advocacy (LTC Leg.)
   AGS Membership
   ACOEM
   CPDD
   Pain Care Forum (IWG) Collaborations
       AOA
       APhA
       Partners for drug free
   Inst./IM/COBI Partners
       ACEP-PAIN/ED
       ACS
       NCCN
       ONS
       Arthritis FDN
       ACR
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 8 of 47. PageID #: 395762


Drive Existing Resources: Local Market Outreach &
Community of Care
 Advocacy Support for our Coalition Partners
 Extend program growth among and beyond Coalitions
 Program Enhancements/Dissemination:
 Quality Solutions 360
    High Risks, Young Lives
      Program in a box
      Tool kit (resources/support services)
      Community of Care Outreach (Pilot: AtlantiCare)
    Health Living Forum: Taking Charge of Pain
      Meeting in a box
    Let's Talk Pain
    Prescribe Responsibly
    Smart Moves, Smart Choices
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 9 of 47. PageID #: 395763


Advocacy, Policy Support:
Sponsorships/Programs/Outreach
 Policy & Quality Local Market Support
    Monitoring & Quality Consultations
      PDMPs
      E-Prescribing-CII (Tool)
      REMS
      EMR
    Sponsorships/Programs/Outreach
      Payers
      Institutions
      SGA partnerships
      SCG partnerships
      HPAD(s) partnerships
      Organizations: Partners for DrugFree
      Advocacy: APF: PAIN SAFE
      Multimodality Offerings: PAIN TOPICS/OPIOIDS 911 Program
               Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 10 of 47. PageID #: 395764
                Healthcare Policy & Advocacy Team– NA Pharm
                                Suzanne Mueller                                  Bruce Carroll
                                 Field Director                                  Field Director                                  Ward Bennett
                                                                                                                                    MAC 14
                                                                                                      Terry                       (ME/NH/VT/
                Dave Walters         Joan Houska              Claudia Stewart
                                                                                                   Henderson                       MA/RI/CT)
                   MAC 3                MAC 5                      MAC 6
               (KS/NE/CO/OK)        (MO/IA/ND/SD)                 (WI/MN)                            MAC 8
                                                                                                   (IN/KY/MI)
                                                                                                    Bert Wickey                  Patrick Conley
                                                                                                       (IL/OH)                      MAC 13
                        WA                               ND
     Bob Hartman                              MT                                                                                      (NY)
                                                                      MN
       MAC 2
                                                                                                                           ME
     (WA/AK/OR)         OR
                                                         SD                      WI                              VT
                                    ID             WY                                   MI                            NH          Chris Herbine
                                                                       IA                                   NY                        (PA)
                                                         NE
Caren Sykes                                                                                            PA
                               NV                                                IL    IN    OH
  MAC 1                                  UT         CO
                                                                                                            NJ
                                                              KS        MO                        WV
                                                                                                                                 Tishna Dhaliwal
 (N.CA/HI)              CA
                                                                                                       VA
                                                                                      KY                                             MAC 12
                                                               OK                      TN              NC                          (DE/MD/NJ)
Kelly Davies                              AZ        NM                      AR
 (S.CAL.)                                                                        MS               SC
                                                                                       AL
                                                                                                                                Ann Powell
                                                                                             GA                                   MAC 15
                                                         TX
                                                                            LA
                                                                                                                                (VA/WV/DC)

               Mary Colburn                                                                   FL                                    Rizza
                 (MT/ID/                                                                                                        Hermosisima
                 UT/WY)                                                                                                            MAC 11
                                         David Hannah               Justin Caudle                                                (NC/SC/TN)
                     Shannon                MAC 4                      MAC 7
                                                                                                                                 Scott Willet
                    Grppenbach               (TX)                    (AR/LA/MS)
                                                                                                                                  MAC 10
                        er                                                                                                        (AL/GA)
                    (AZ/NM/NV)                                                                     Matt Martello
                                                                                                      MAC 9
                                                                                                     (FL/PR)
          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 11 of 47. PageID #: 395765




HPAD Resource Kit
  Objectives:
   Build rationale and support for advocacy efforts that align to market
    development goals
   Educate HPADs about chronic pain management and help them to recognize
    the business/advocacy opportunities within this category
   Identify and partner with policy stakeholders and key advocacy leaders (KALs)
    with during launch year
   Engage advocates at-launch with clear plan of action and suite of tools that can
    support their priorities on a local level
   Create HPAD-RBD-Marketing feedback loop that tracks progress and provides
    input needed for timely decision making (i.e, for resource reallocation, state-
    specific initiatives)
  Strategy:
   Execute a clear and aligned policy and advocacy agenda that educates
    prescribers on utilization of scheduled products within chronic pain and helps to
    break down the unique barriers associated with CII-IV prescribing
          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 12 of 47. PageID #: 395766


           Internal Medicine Scientific Affairs Field

 MSL Alignment with HPADs
 Introductory Meetings
 Goals are:
   Share information on the role and responsibilities of the respective positions
   Cull information on regional and local KOLs/KALs (Key Advocacy Leaders)
   Cultivate awareness of regional pain professional associations and their
    medical meetings.
   Develop Local Market Network of Support, Resources & Services
Pain Case:
     Policy       Scores from Pain & Policy Studies Group
           1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 13 of 47. PageID #: 395767




         B+

                                                                                             B+         B+
                           C+            B
                                              B+                                                          B
     A        B                                                                              C
                                                        A                                              B+
                                     B                                                                  B
                            C+                                      A                                  B B+ B+
                                               B                                    C+            C+
                  B+                B+
         C                                                              B       B                         C+
                                                            C   C+
                                                                                                  B
B                               B        A         C+           B                   A
              B+
                                                                                         B
                                                            C
                                         C+        B
                            B+                                                               C+
                                                   C    C+      B+          B

                                     C                                          B


    C+                 B
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 14 of 47. PageID #: 395768




ASPI- Alliance of State Pain Initiatives
 Carol Curtiss RN, MSN Massachusetts Pain Initiative carol.curtiss@verizon.net
 Terry Altilio LCSW, ACSW New York State Pain Initiative
  taltilio@bethisraelny.org
 Patrick Coyne RN, MSN, CS Virginia Cancer Pain Initiative
  user479069@aol.com
 Chris Herndon PharmD, BCPS Missouri Pain Initiative cherndo@siue.edu
 Dionetta Hudzinski RN, MN, CRNH Washington/Alaska Pain Initiative
  hudzinski@wsu.edu
 Sue Morgan RN, PhD, CNS, CHPN Alabamians for Pain Relief
  susan062@hhsys.orgdu
 Kandyce Powell RN, MSN Maine Pain Initiative
  kpowell@mainehospicecouncil.org
 Robert Twillman PhD Kansas Pain Initiative rtwillma@kumc.edu
          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 15 of 47. PageID #: 395769




Key National Advocacy Partner Organizations
 American Pain Society (APS) & Regional Affiliates
 American Academy of Pain Management (AAPM)
 American Academy of Pain Medicine (AAPM)
 American Academy of Family Physicians (AAFP)
 California Academy of Family Physicians (CAFP)
 American Academy of Hospice and Palliative Medicine (AAHPM)
 American Academy of Nurse Practitioners (AANP)
 American Association of Physician Assistants (AAPA)
 American College of Physicians (ACP)
          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 16 of 47. PageID #: 395770




Key National Advocacy Partner Organizations
 American Medical Association (AMA)
 American Osteopathic Association (AOA)
 American Pharmacists Association (APhA)
 American Society for Pain Management Nursing (ASPMN)
 American Society of Addiction Medicine (ASAM)
 College on Problems of Drug Dependence (CPDD)
 National Association of Substance Controlled Substances (NASCSA)
 Nurse Practitioner Healthcare Foundation (NPHF)
 Pain and Policy Studies Group (PPSG)
 American College of Emergency Physicians (ACEP)
 American Cancer Society (ACS)
 Oncology Nursing Society/Pain & Palliative Care Section
 American College of Rheumatology (ACR)
 American Geriatric Society (AGS)
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 17 of 47. PageID #: 395771




Utah Activity
 HPAD Outreach:
    Dr. Lynn Webster, Board member for the American Academy of Pain Medicine, and
     past President of the Utah Chapter.
    Dr. Webster has been instrumental for years, in Utah for advocating for patient access
     to care.
 Discussion on Sponsorship support for a new Conference in Salt Lake, which
  would bring together decision makers from Utah managed care companies,
  legislators, and interested providers, with the goal of coordinating the
  development of Accountable Care Organizations for the state.
 Value-Add: Integrating pain management with behavioral health and other
  primary care services, under the umbrella of an ACO.
 Action: Follow-Up calls and meeting planned for November in Salt Lake with
  points of contact in Utah including Dr. Fine.
                 Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 18 of 47. PageID #: 395772




Southern Pain Society/Texas Pain Society Activity
   The Texas Pain Society comprises 300 pain practitioners that are involved in acute and chronic pain
    management of patients in Texas.
       represents the practice of pain medicine in Texas with a seat on the Texas Medical Association’s House of
        Delegates.
   Southern Pain Society: Outreach with MSLs/Committee Members (Todd Sitzman, MD-President)
       largest of the regional sections of the American Pain Society, with approximately 200 members, and includes
        representatives of multiple disciplines. It serves the following states and regions: Maryland, District of Columbia,
        Virginia, West Virginia, Kentucky, Missouri, Tennessee, North Carolina, South Carolina, Georgia, Alabama,
        Mississippi, Arkansas, Louisiana, Oklahoma, Texas, Florida, and Puerto Rico. SPS includes several districts, which
        are designed to serve more local needs within the region. These districts and their Presidents include: Dade County
        Pain Society Mississippi Pain Society, Greater Atlanta and Kentucky.
   Texas Pain Society’s 2nd Annual Scientific Meeting
     October 29-31, 2010 Bastrop, Texas
     http://www.texaspain.org/
   Program Planning Committee Outreach:
     Allen W. Burton, MD
     Larry C. Driver, MD
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 19 of 47. PageID #: 395773




Michigan Cancer Pain Initiative Activity
 Michigan Pain Initiative: Leadership Change:
 Steven E. Roskos, M.D. of East Lansing, associate professor for Michigan State
    University College of Human Medicine, Department of Family Medicine, is
    appointed to represent Michigan State University College of Human Medicine for
    a term expiring July 1, 2011. He succeeds Karen S. Ogle who has resigned.
   The Advisory Committee on Pain and Symptom Management is charged with
    addressing issues pertaining to pain and symptom management and developing
    an integrated approach to understanding and applying pain and symptom
    management techniques.
   This appointment is not subject to disapproval by the Michigan Senate.
 http://www.michigan.gov/documents/mdch/ACPSMmemberList004302010Websi
    teVersion_329751_7.pdf
 Action: Arranging MSLs/HPAD meet and greet to integrate knowledge and
    resources
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 20 of 47. PageID #: 395774
Pain Society of Oregon-Active in Policy



Key Contact: Kathryn Hahn, PharmD-advocate, lead advocacy chair AAPM (MANAGEMENT)
  Pain Society of Oregon
     network of diverse, and interdisciplinary healthcare professionals across the state of Oregon. Active
       chapters in Eugene and Portland sponsor monthly educational presentations. Local practitioners
       represent a variety of modalities and perspectives at these meetings. Emphasis is placed on creating a
       common language and providing a forum for discussion.
     sponsors an Annual Conference in the Spring, as well as other regional conferences throughout the year,
       and has a Patient Advocacy Committee dedicated to educating and empowering patients and community
       members.
  Website http://www.painsociety.com


Pain Society of Oregon purpose is:
   promote the highest standards of professional competence and ethics in the treatment of pain disorders.
   provide for the continuing education of the members.
   promote working relationships among pain treatment disciplines.
   represent the interests of pain treatment within the larger health community.
   advocate competent pain treatment for the public.
   improve members knowledge of and use of community pain treatment resources and methods.
   "Pain is complex and defies our ability to establish
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 21 of 47. PageID #: 395775

Western Pain Society-Active in Policy


ACTION: Meetings planned with K. Hahn and Jennifer Wagner
   Founded by John Bonica in 1974, as a result of the first meeting of the International
    Association for the Study of Pain.
   Western Pain Society is a regional society of the American Pain Society (APS). The WPS
    is the largest society representing 13 western states: Alaska, Arizona, California,
    Colorado, Hawaii, Idaho, Montana, Nevada, New Mexico, Oregon, Utah, Washington, and
    Wyoming.
   Website: www.ampainsoc.org/societies/wps/
Mission
   promote the education of its membership on the subject of pain.
   encourage research and discussion of causes for and treatment of pain.
   support the American Pain Society’s establishment of standards for the treatment of pain.


   Board: Bill McCarberg, M.D., Daniel A. Brzusek, D.O., B. Eliot Cole, M.D., MPA,
    Scott Fishman, M.D., Kathryn Hahn, Pharm. D., Robert Hines, M.D., Daniel Bennett,
    M.D., Teresa Keane, PMHNP, Mike Moskowitz, M.D., Michael Schatman, Ph.D.,
    Mark Sullivan, M.D., PhD, Mark Wallace, M.D.
                                                                              Executive Director
                                                                              Jennifer Wagner (key activist)
President
                                                                              Western Pain Society
Bill McCarberg, MD
                                                                              65 W-1 Division Ave., #237
Kaiser Permanente                                                             Eugene, OR 97404
732 N Broadway                                                                (541) 515-6896 phone
Escondido CA 92025                                                            (541) 515-6897 fax
/                                                                             jennifer@westernpainsociety.com
          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 22 of 47. PageID #: 395776
Midwest Pain Society



Action: HPAD/MSL Attendance at October Meeting:
   http://www.ampainsoc.org/societies/mps/downloads/2009_annualmeeting.pdf
   Further the goals and mission of the American Pain Society in the Midwestern States,
    including Illinois, Indiana, Iowa, Kansas, Michigan, Minnesota, Missouri, Nebraska,
    North Dakota, Ohio, South Dakota, and Wisconsin. The MPS is a multidisciplinary
    organization devoted to advancing pain-related research, education, treatment, and
    professional practice.
   KOL Contacts: April Vallerand, Wayne State, Carmen Green, Michigan, Nathan Rudin, MD,
    MA University of Wisconsin-Madison, Ed Covington, Cleveland Clinic, Stephen Stanos,
    University of Chicago
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 23 of 47. PageID #: 395777




OHIO Activity
 The Ohio Prescription Drug Abuse Task Force has completed its work and
  has developed 20 policy recommendations with the goal of curbing Ohio's
  prescription drug abuse epidemic.
 Final recommendations of the OPDATF by the 4 work groups. The 4 work
  groups are Law Enforcement, Regulatory, Treatment and Public Health.
 It is important for us to keep a pulse on this State level initiative
 SGA continues to look for opportunities where we can provide non-branded
  resources that the Task Force may be able to leverage as part of some of
  the educational initiatives.
 Monitor progress and report back as necessary.
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 24 of 47. PageID #: 395778




APS Regional Societies
 The American Pain Society has six regional sections affiliated by membership
  and bylaws with national.
 Regional societies function independently from APS.
 Offer an opportunity to network regionally.
 Deliver local programs, meetings, and newsletters.
 Southern Pain Society (MSLs, HPAD)
 Eastern Pain Association (Ward Bennett-HPAD)
 Greater Philadelphia Pain Society (Community of Care/KOLs)
 Midwest Pain Society (HPADs/MSLs)
 New England Pain Association (Ward Bennett-HPAD)
 Western Pain Society (Jennifer Wagner-Appointed Pain Advocate-Governors
  Office)
        Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 25 of 47. PageID #: 395779




AAPM (Medicine)
 AAPM's local initiatives and state representatives:
  http://www.painmed.org/member/committees.html
 Committees with descriptions:
  http://www.painmed.org/member/local.html
 State involvement/regional societies:
  http://www.painmed.org/member/local.html
 There are no affiliates, chapters, or state organizations
  that collaborate with AAPM.
            Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 26 of 47. PageID #: 395780




AAPM-(Medicine) Local Initiatives
 AAPM is working to recruit members to develop a network of Pain Medicine advocates
  in each state.
 4 chapters and over 40 state representatives, who monitor local issues and assist in
  the quest for Pain Medicine specialty recognition.
 Representation will allow for better communication, quicker responses, and a broader
  influence that will ensure concerns of the Pain Medicine community are heard and
  respected.
 Chapters
   California
   Colorado
   Idaho
   Utah *
 Local Committees Chair:
   Michael J. Brennan, MD
     The Pain Center of Fairfield
     Fairfield, CT
           Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 27 of 47. PageID #: 395781




AAPM-(Management) Local Initiatives
 AAPM is working to recruit members to develop a network of Pain Management
  advocates in each state.
 Hired Bob Twillman, U/Kansas Advocacy & Policy Director-3/11
 Named Kathryn Hahn, PharmD (Oregon) Policy Chair
 Cultivate state representatives, who monitor local issues and mobilize
  awareness and action
 Broad influence that will ensure concerns of the Pain community are voiced.
             Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 28 of 47. PageID #: 395782
NUCYNTA® Advocacy success requires integrated
effort across partners and communities of care


                                              Pain Management Partners

                          Primary Care
                                                        Pain Specialists          Neurologists
                           Physicians
  Prescribers            Rheumatologists                    Midlevels            Physical Therapy
                                                                                    & Rehab
                              Surgeons                   Oncologists


                           Managed                    Medicare                GPOs & Integrated
  Payers
                            Care                                              Delivery Networks



  Influencers         Professional & Patient Advocacy         Quality Orgs      Employers       Policy



                                                                                          Surgery
 Sites of Care           Institutions    Long Term Care          Retail      Rehab        Centers




                                                                                                         27
               Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 29 of 47. PageID #: 395783


Engage advocacy to help define patient treatment success &
access pain management options
Acute Pain Section
   Rollin M. Gallagher, MD, MPH (UPENN/PA)
   Chester C. Buckenmaier III MD (WRAMC/ DC)
Ethics Section
   Michel Dubois, MD (APS/NY, NY)
   Perry Fine. MD (Salt Lake City, Utah)
Opioids/Substance Abuse & Addiction Section
   Russ Portenoy, Beth Israel Medical Center, NY, NY
   Nat Katz, MD (TUFTS/Boston)
   Scott Fishman, MD (UCSF)
   Steven D. Passik, PhD (MSKCC/NY)
   Lynn R. Webster, MD (Salt Lake City/Utah)
   Ted J. Cicero, PhD (St. Louis, MO)
   Peggy Compton, RN, PhD (LA)
   Aaron M. Gilson, MS, PhD (U Wisconsin)
   Douglas Gourlay, PhD (Toronto)
   Howard A. Heit MD (Georgetown/Fairfax, Virginia)
   Charles Intrussi, PhD (APS/NY, NY)
   Seddon A. Savage (APS/Dartmouth/Hanover, New Hampshire)
   Jennifer Bolen, JD (Knoxville, TN)
   Jennifer Wagner, RN (WPS/PAIN ADVOCATE/Oregon Governors Office)
               Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 30 of 47. PageID #: 395784


Engage advocacy to help define patient treatment success &
access pain management options
Pain & Aging Section
   Keela Herr, PhD RN (Iowa City)
Primary Care, Emergency Medicine & Health Services Section
   Kathryn Hahn, PharmD (Oregon Health Services University)
   Bob Twillman, PhD (AAPM/U Kansas)
   David Provenzano, MD (ACPA/PA)
   Bill McCarberg, MD (Kaiser/Escondido, CA)
   Knox Todd, MD (NY, NY)
   Psychology. Psychiatry, Women’s Health Services
   Lesley Arnold (U/Cincinnati, Ohio)
Translational Research (Neurobiology of Pain)
   Sean Mackey (Stanford/Palo Alto,CA)
   Michael Ashburn, MD, PhD (U PENN, PA)
   Rosemary Polomano, PhD, RN (UPENN, PA)
   Joel Saper, MD (Ann Arbor, MI)
   R. Todd Sitzman, MD, (Hattiesburg, Mississippi)
   Barth Wilsey, MD (Sacramento, CA)
                 Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 31 of 47. PageID #: 395785


Engage advocacy to help define patient treatment success &
access pain management options
Neuropathic Pain Section
   Charles Argoff, MD (Albany, NY)
Physical Medicine & Rehabilitation Section
   Norm Harden, MD (Chicago)
   Stephen Stanos, MD (Chicago)
   Martin Grabois, MD (Baylor/Houston, TX)
Palliative Care/CA Section
   Allen W. Burton (Texas Pain Society/Houston)
   R. Sean Morrison (AAHPM/ Mt.Sinai,NY, NY)
   Gilbert Fanciullo, MD (Lebanon, New Hampshire)
   Porter Storey (AAHPM/Kaiser/Denver)
   Charles Cleeland, PhD (Texas Pain Society/MD Anderson/Houston)
   Larry Driver, (Texas Pain Society/MD Anderson/Houston)
Disparities & Special Interests (Caregiver Burden)
   Carmen Green, MD (Ann Arbor, Michigan)
   April Vallerand, PhD, RN (Ann Arbor, Michigan)
   Salimah Meghani PhD, RN (UPENN/PA)
   Myra Glajchen, PhD (BI Continuum Health Partners, NY/NY)
     Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 32 of 47. PageID #: 395786




                   Appendix: Advocacy Partners




31
                    Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 33 of 47. PageID #: 395787




 Summary of National Groups with Regional Activities

                                                                                                Geographic
Pain Association                   Focus of Mission                     Website   Newsletter                     Number of Members
                                                                                                 Presence


American Pain                                                                                                   Over 3,000 (including
                    •   To increase knowledge of pain and                                      National (six
Society                                                                                                         health professionals,
                        transform public policy and clinical practice                          regional
                                                                                                                basic scientists, policy
                        to reduce pain-related suffering.                                      sections)
                                                                                                                makers, and lawyers)

American Pain
Foundation/                                                                                                     80,000 (including
                    •   To improve the quality of life of people with
PAIN CARE                                                                                      National         patients, families and
                        pain
ACTION                                                                                                          healthcare providers)
NETWORK

                    •   To facilitate peer support and education for
                        individuals with chronic pain and their
                        families.                                                                               Reach over 11 million
American                                                                                       International
                                                                                                                people via web site. Mail
Chronic Pain        •   To raise awareness among the health care                               (more than
                                                                                                                out 52K info packets per
Association             community, policy makers, and the public                               800 chapters)
                                                                                                                year
                        at large about issues of living with chronic
                        pain.

                                                                                               National
Alliance of State   •   To ensure that peoples’ lives are not                                  (Policy-making   NA
Pain Initiatives        overpowered by pain.                                                   state pain
                                                                                               initiatives)
        Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 34 of 47. PageID #: 395788

Tier one: American Pain Society Priority groups




                                                 • American Pain
                                                   Society-National
                                                 • Southern Pain
                                                   Society
                                                 • Eastern Pain
                                                   Society
                                                 • Greater
                                                   Philadelphia Pain
                                                   Society
High Level Engagement                            • Midwest Pain
                                                   Society
                                                 • New England
                                                   Pain Association
                                                 • Western Pain
                                                   Society
        Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 35 of 47. PageID #: 395789

Tier one: American Academy of Pain Medicine Priority groups




                                                 • American
                                                   Academy of Pain
                                                   Medicine-
                                                   National
                                                 • Chapters (4)
                                                       • California
                                                       • Colorado
                                                       • Utah
High Level
Engagement                                             • Idaho
                                                 • 40 State Reps
        Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 36 of 47. PageID #: 395790

Tier two: Important PAIN/Professional Groups-Regional Influence



                                               •   American Academy of Pain     •   National Association
                                                   Management                       Directors of Nursing
                                               •   American Pain Foundation         Administration/LTC
                                               •   American Chronic Pain        •   American Medical
                                                   Association
                                                                                    Directors Association
                                               •   American Society of Pain
                                                   Management Nursing           •   American Society of
                                               •   American Academy of Family       Consultant Pharmacists
                                                   Physicians                   •   National Association of
                                               •   California Academy of Family     Orthopaedic Nurses
                                                   Physicians
                                                                                •   National Council on
                                               •   American Association of
                                                   Orthopaedic Surgeons             Aging
                                               •   American Academy of Hospice•     American Geriatrics
                                                   & Palliative Care                Society
                                               •   American Osteopathic         •   American Academy of
                                                   Association
                                                                                    Nurse Practitioners
  Supporting Organizations                     •   American College of
                                                   Osteopathic Family Physicians•   American Association of
                                               •   American College of              Physician Assistants
                                                   Physicians                   •   Pain and Policy Studies
                                               •   American Pharmacists             Group/U/Wisconsin
                                                   Association
                                                                                •   Center for Substance
                                                                                    Abuse Treatment (CSAT)
                                                                                •   SAMHSA
             Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 37 of 47. PageID #: 395791

     Tier two: Important PAIN Professional Groups-Influencers




                                                    •   American College of      •   NIDA/NIH
                                                        Emergency Physicians
                                                                                 •   VA-U/PENN
                                                    •   Alliance of State Pain
                                                                                 •   Walter Reed National
                                                        Initiatives
                                                                                     Military Medical Center
                                                    •   Case Management
                                                                                 •   American College of
                                                        Society of America
                                                                                     Rheumatology
                                                    •   Emergency Nurses
                                                                                 •   American Cancer
                                                        Association
                                                                                     Society/NCCN /ONS
                                                    •   College on Problems of
                                                                               •     NASCA
                                                        Drug Dependence
                                                                               •     Alliance of States with
                                                    •   American Society of
                                                                                     prescription Monitoring
                                                        Addiction Medicine
                                                                                     Programs
                                                    •   American Osteopathic
                                                                                 •   ACOEM
       Specialty Supporting                             Academy of Addiction
                                                        Medicine                 •   Employer/Groups
       Organizations
                                                                                 •   Payer Groups
                                                                                        •   AETNA/U WASH.




36
        Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 38 of 47. PageID #: 395792
Tier one: KEY Clinical Centers of Excellence-University-Based & Community-
Based Programs & Policy Groups



                                                 •   University of Washington Division of Pain
                                                     Medicine/Seattle
                                                 •   University of California San Diego Center for
                                                     Pain Medicine
                                                 •   University of California, Davis Center for Pain
                                                     Medicine, Sacramento
                                                 •   Michigan Head-Pain and Neurological Institute,
                                                     Ann Arbor, MI
                                                 •   Integrative Pain Center of Arizona, Tucson
                                                 •   Continuum of Health Partners/Beth Israel
                                                     Medical Center NYC
                                                 •   MSKCC-NYC
                                                 •   MD Anderson Cancer Center-Houston
                                                 •   Dartmouth-New Hampshire
                                                 •   UC-Davis
                                                 •   Kaiser Permanente-CA
                                                 •   University of Wisconsin
APS COEs & Policymakers                          •   U/Penn School of Medicine/Nursing
                                                 •   Oregon State Health Systems
                                                     University/College of Pharmacy
                                                 •   Rehabilitation Institute of Chicago
                                                 •   University of Michigan/Michigan State
                                                 •   Tufts Health Care Institute-Boston
                                                 •   University of Virginia Division of Pain Medicine
                                                                                                                            – Strong focus
            Roadmap: Priority groups
                              Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 39 of 47. PageID #: 395793
                                                                                                                            – Moderate focus

                                                                                                                            – Low focus

      Organization              Recommended      PAIN MED         Advocacy       Partnerships           Issues/Topics to Pursue
                                   Levels of    Programming     Programming      Programming
                                 Involvement
American Pain                    Continued                                                      • Clinical/Advocacy/ Legislative Affairs
Society/Regional Societies
                                Collaboration

American Academy of Pain         Collaborate                                                    • Awareness – heighten
Medicine
                                                                                                • Continuity of care
                                                                                                • Quality of care
American Academy of Pain         Collaborate                                                    • Continuity of care
Management
                                                                                                • Awareness –

American Academy of              Collaborate                                                    • Quality of care
Family Physicians/State
                                                                                                • Continuity of care
Chapters
                                                                                                • Awareness

California Academy of            Collaborate                                                    • Continuity of care
Family Physicians
                                                                                                • Quality of care
                                                                                                • Awareness
American Society of Health       Collaborate                                                    • Continuity of care
System Pharmacists



American College of                Engage                                                       • Awareness –
Emergency Physicians
                                                                                                • Continuity of care

American Geriatrics Society        Engage                                                       • Continuity of care

American Society of                Engage                                                       • Continuity of care
Consultant Pharmacists



American Academy of                Engage                                                       • Continuity of care
Hospice and Palliative
                                                                                                • Awareness
Medicine
                                                                                                                     – Strong focus
                          Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 40 of 47. PageID #: 395794
                                                                                                                     – Moderate focus

         Roadmap: Important groups                                                                                   – Low focus

     Organization          Recommended        PAIN MED            Advocacy          Partnerships        Issues/Topics to Pursue
                              Levels of      Programming        Programming         Programming
                            Involvement



American Association         Continued                                                               •Quality of Care
of Orthopaedic              Collaboration                                                            •Continuity of Care
Surgeons
National Community           Continued                                                               • Risk Management
Pharmacists                 Collaboration                                                              Partnership
Association
National Association of      Continued                                                               • Quality of Care
Orthopaedic Nurses          Collaboration                                                            • Continuity of Care


American Osteopathic         Continued                                                               • Advocacy
Association/American        Collaboration                                                            • Potential for additional
College of Osteopathic                                                                                 partnerships
Family Physicians

American Society of          Collaborate                                                             • Advocacy, Pain Mgmt.
  Pain Management                                                                                      Awareness – pt. risk
  Nursing                                                                                              management
                                                                                                     • Continuity of care
American Pharmacists         Collaborate                                                             • Access
  Association                                                                                        • Affordability
                                                                                                     • Patient safety
American Society of          Collaborate                                                             • Awareness – risk
Consultant                                                                                             management
Pharmacists                                                                                          • Partnership-pt. access



American Chronic Pain        Collaborate                                                             • Awareness –
  Association                                                                                        • Access/affordability
                                                                                                     • Pt. risk management
                                                                                                                       – Strong focus
                         Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 41 of 47. PageID #: 395795
                                                                                                                       – Moderate focus

          Roadmap: Important groups, cont.                                                                             – Low focus

     Organization          Recommended       PAIN MED          Advocacy        Partnerships            Issues/Topics to Pursue
                              Levels of     Programming      Programming       Programming
                            Involvement
American Academy of           Engage                                                           • Awareness –
Nurse Practitioners                                                                            • Continuity of care


American Academy of           Engage                                                           • Awareness
Physician Assistants                                                                           • Continuity of care



Case Management               Engage                                                           • Awareness
Society of America                                                                             • Continuity of care


American College of           Engage                                                           • Awareness
Emergency Physicians                                                                           • Continuity of care



The Neuropathy                Engage                                                           • Awareness – PAIN TX/Mgmt.
Association                                                                                    • Appropriate Pt. Care


Alliance of State Pain        Engage                                                           •   State Report Cards
Initiatives/Pain and                                                                           •   Legislative Policy
Policy Studies Group                                                                           •   Awareness –”at risk”
                                                                                               •   Quality of care
                                                                                               •   Continuity of care – Access
American Medical              Engage                                                           • Continuity of care –Access
Association                                                                                    • Awareness –“pt.risk”


American Society of           Engage                                                           • Continuity of care
Addiction Medicine                                                                             • Awareness – Pt. stratification;
                  Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 42 of 47. PageID #: 395796
      ASPI- Alliance of State Pain Initiatives


Connecticut Cancer Pain Initiative
   Steven Levin, MD
                                       D.C. Pain Initiative                 Massachusetts Pain Initiative
    Chair, CT Cancer Pain Initiative
    Yale New Haven Medical at Long     •Michelle Grant Ervin MD             •Carol Curtiss, RN, MSN, BC
    Wharf                              4014 Mansion Dr. NW                  Curtiss Consulting
    Phone: (203) 624-4208              Washington, DC 20007                 37 James Street
    slevin@ihurt.com                   Phone: 202-865-1121                  Greenfield, MA 01301
   Patricia Trotta, RN, MSN           michelle1em@mac.com                  Phone: 413-774-5238
    Pain Education Specialist          •Rebecca Selove PhD, MPH             Fax: 413-774-3762
    American Cancer Society, New       Hematology/Psychology Dept.          carol.curtiss@verizon.net
    England Division, Inc.
    538 Preston Ave.                   Children's National Medical Center   •Anne Marie Kelly, BSN, RN-BC,
    Meriden, CT 06450                  111 Michigan Avenue NW               CHPN
    Phone: 203-379-4763                Washington, DC 20010-2970            Pain Mnagement Educator and
    Fax: 203-379-5060                  Phone: 202-884-2243                  Consultant
    Patricia.Trotta@cancer.org         rselove@cnmc.org                     Catholic Memorial Home
   Susan Richter, RN, MA              Delaware Pain Initiative             381 Reading Street
    New England Vice President for                                          Fall River, MA 02720
    Patient Support                    •Margaretta Dorey, RN, BSN
    American Cancer Society - New      Delaware Pain Initiative             annemariekelly@verizon.net
    England Division                   9 Aronimink Drive                    •Ann Marie Harootunian, RN, MS,
    538 Preston Ave., Box 1004         Newark, DE 19711                     FNP
    Meriden, CT 06540-1004             Phone:302-292-1616                   Clinical Research Program Manager
    Phone: 203-379-4760                                                     Pain Management Center, Caritas
    Fax: 203-379-5060                  Fax: 302-292-2693
    srichter@cancer.org                mfdorey@comcast.net                  Norwood Hospital
                                                                            annmarie.harootunian@caritaschrist
                                                                            i.org
                   Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 43 of 47. PageID #: 395797
       ASPI- Alliance of State Pain Initiatives


                                             Maine Pain Initiative                New Hampshire Pain Initiative
Maryland Pain Initiative
                                             •Kandyce A. Powell, RN, MSN          •Kelly Doherty, RN-C, MSN, ARNP-
   June Winkler                             Maine Hospice Council                BC
    MPI Coordinator                          P.O. Box 2239                        Interim Chairperson
    Phone: 410-783-0199                      Augusta, ME 04338-2239               New Hampshire Pain Initiative
    mpi@painfoundation.org                   Phone: 207-626-0651                  keda994@aol.com
                                             Fax: 207-622-1274                    •Janice McDermott
   Karen Kaiser, RN, PhD (Chair)            kpowell@mainehospicecouncil.org      Executive Director
    Clinical Practice Coordinator            •Diana Rae, RN, MSN                  New Hampshire Hospice and
    Division of Clinical Quality Systems     116 South St.                        Palliative Care Organization
    University of Maryland Medical System    Rockport, ME 04853                   jmcdermott@nhhpco.org
    22 S. Greene St., Box 316                Phone: 207-594-2672                  New York State Pain Initiative
    Baltimore, MD 21201-1595                North Carolina Pain Initiative        Terry Altilio, LCSW
    Phone: 410-328-7690                     •Cynthia Johnston, Pharm D            Social Work Coordinator
    Fax: 410-328-2578                       Assistant Professor of Pharmacy       Beth Israel Medical Center
    kkaiser@umm.edu                         Practice                              350 East 17th Street
                                            Campbell University School of         Baird 12
   Kathryn Herbert, PharmD (Chair-
                                            Pharmacy                              New York, NY 10003
    Elect)
                                            johnstonc@bellsouth.net               Phone: 212-844-1467
    Oncology/Palliative Care Clinical
                                            •Judy Brunger, MS                     Fax: 212-844-1503
    Pharmacist
                                            CEO                                   taltilio@bethisraelny.org
    Union Memorial Medical Center,
                                            The Carolinas Center for Hospice      Michael Weinberger MD
    Baltimore
                                            and End of Life Care                  Columbia Presbyterian Division of
    Phone: 410-554-4428
                                            jbrunger@carolinasendoflifecare.org   Pain Medicine
    kathryn.herbert@medstar.net
                                            •Dori Greene, RN                      630 West 168th Street
                                            The Carolinas Center for Hospic       PH5E
                                            and End of Life Care                  New York, NY 10032
                                            dorigreene2488@earthlink.net          212-305-7114
                                                                                  MLW45@columbia.edu
             Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 44 of 47. PageID #: 395798
   ASPI- Alliance of State Pain Initiatives


New Jersey Pain Initiative
•Kristina Thomson, LCSW         Pennsylvania Cancer Pain         South Carolina Pain Initiative
Director, Pain Relief Project   Initiative                       •Shannon Johnson MPH, MSW
American Cancer Society,        •Georgia Brown, RN, BSN          South Carolina Pain Initiative
Eastern Division, Inc           PA Cancer Pain Initiative        Coordinator
20 Mercer Street                Penn State College of Medicine   South Caolina Pain Initative
Hackensack, New Jersey 07601    PO Box 855                       1350 Browning Road
Phone: 201-457-3418             Dept of HES, A210                Columbia, SC 29210
Fax: 201-343-1839               Hershey, PA 17033-0855           Phone: 803-781-4220
Cell: 201-906-9228              Phone: 717-531-6849              Sjohnson@carolinasendoflifecare.or
kristina.thomson@cancer.org     Fax: 717-531-3922                g
•Joan Grady RN, CCNS, OCN       gbrown@psu.edu                   •Tamra West
Hunterdon Hospice               •James Ray, PharmD               Director, SC Programs
2100 Westcott Drive             3605 Westminster Blvd.           The Carolinas Center for Hospice
Flemington, NJ 08822            Erie, PA 16506                   and End of Life Care
Phone: 908-788-6600             Phone: 814-838-2040              1350 Browning Road
Fax: 908-788-6651               JRay12@omjus.jnj.com             Columbia, SC 29229
grady.joan@hunterdonhealthcar                                    Phone: 803-791-4220
e.org                                                            twest@carolinasendoflifecare.org
•Renee Pevour RN, MS
Nursing Department
William Paterson University
300 Pomptom Road
Hunziker Wing, RM 103
Wayne, NJ 07470
Phone: 973-720-3516
pevourr@wpunj.edu
             Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 45 of 47. PageID #: 395799
   ASPI- Alliance of State Pain Initiatives


New Jersey Pain Initiative      Pennsylvania Cancer Pain         South Carolina Pain Initiative
•Kristina Thomson, LCSW         Initiative                       •Shannon Johnson MPH, MSW
Director, Pain Relief Project   •Georgia Brown, RN, BSN          South Carolina Pain Initiative
American Cancer Society,        PA Cancer Pain Initiative        Coordinator
Eastern Division, Inc           Penn State College of Medicine   South Caolina Pain Initative
20 Mercer Street                PO Box 855                       1350 Browning Road
Hackensack, New Jersey 07601    Dept of HES, A210                Columbia, SC 29210
Phone: 201-457-3418             Hershey, PA 17033-0855           Phone: 803-781-4220
Fax: 201-343-1839               Phone: 717-531-6849              Sjohnson@carolinasendoflifecare.or
Cell: 201-906-9228              Fax: 717-531-3922                g
kristina.thomson@cancer.org     gbrown@psu.edu                   •Tamra West
•Joan Grady RN, CCNS, OCN       •James Ray, PharmD               Director, SC Programs
Hunterdon Hospice               3605 Westminster Blvd.           The Carolinas Center for Hospice
2100 Westcott Drive             Erie, PA 16506                   and End of Life Care
Flemington, NJ 08822            Phone: 814-838-2040              1350 Browning Road
Phone: 908-788-6600             JRay12@omjus.jnj.com             Columbia, SC 29229
Fax: 908-788-6651                                                Phone: 803-791-4220
grady.joan@hunterdonhealthcar                                    twest@carolinasendoflifecare.org
e.org
•Renee Pevour RN, MS
Nursing Department
William Paterson University
300 Pomptom Road
Hunziker Wing, RM 103
Wayne, NJ 07470
Phone: 973-720-3516
pevourr@wpunj.edu
              Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 46 of 47. PageID #: 395800
   ASPI- Alliance of State Pain Initiatives


Virginia Cancer Pain Initiative   Vermont Pain Initiative
•Patrick Coyne, RN, MSN, CS,      Angela Putnam                      West Virginia Pain Initiative
CHPH, FAAN                        Director, Hope Lodge               James Keresztury LCSW,
Clinical Director                 American Cancer Society            ASCW, MBA
Virginia Commonwealth             211 East Avenue                    West Virginia University
University                        Burlington, VT 05401               P.O. Box 6886
user479069@aol.com                angela.putnam@cancer.org           Morgantown, WV 26506
                                                                     Phone: 304-293-0481
•Laura Pole RN, MSN               Joan Madison MD
699 Lakeshore Terrace Rd          Madison-Deane Initiative           Fax: 304-293-0481
Hardy, VA 24101                   6002 Dorset Street                 jkeresztury@hsc.wvu.edu
Phone: 540-890-7289               Shelburne, VT 05482
Fax: 540-890-4249                 Denise Niemira MD                  Hersha Arnold-Brown
lpchef@earthlink.net              North County Hospital              ACS
•Phyllis Whitehead RN, MSN        189 Poutry Dr.                     301 RHL BLVD. Suite 6 & 7
Palliativie Care/ Pain CNS        Newport, VT 05855                  Charleston, WV 25309
Carilion Health System            Phone: 802-334-6140                Phone: 203-746-9950
pwhitehead@carilion.com           Fax: 802-334-8271                  Hersha.ArnoldBrown@cancer.or
                                  nekpci@sover.net                   g
                                  Marilyn Rinker, RN, MSN, OCN,
                                  APN
                                  Associate Professor and
                                  Program Chair
                                  Nursing Department
                                  Norwich University
                                  Northfield, VT 05663
                                  mrinker@norwich.edu
              Case: 1:17-md-02804-DAP Doc #: 2391-9 Filed: 08/15/19 47 of 47. PageID #: 395801
   ASPI- Alliance of State Pain Initiatives


Virginia Cancer Pain Initiative   Vermont Pain Initiative
•Patrick Coyne, RN, MSN, CS,      Angela Putnam                      West Virginia Pain Initiative
CHPH, FAAN                        Director, Hope Lodge               James Keresztury LCSW,
Clinical Director                 American Cancer Society            ASCW, MBA
Virginia Commonwealth             211 East Avenue                    West Virginia University
University                        Burlington, VT 05401               P.O. Box 6886
user479069@aol.com                angela.putnam@cancer.org           Morgantown, WV 26506
                                                                     Phone: 304-293-0481
•Laura Pole RN, MSN               Joan Madison MD
699 Lakeshore Terrace Rd          Madison-Deane Initiative           Fax: 304-293-0481
Hardy, VA 24101                   6002 Dorset Street                 jkeresztury@hsc.wvu.edu
Phone: 540-890-7289               Shelburne, VT 05482                Hersha Arnold-Brown
Fax: 540-890-4249                 Denise Niemira MD                  ACS
lpchef@earthlink.net              North County Hospital              301 RHL BLVD. Suite 6 & 7
•Phyllis Whitehead RN, MSN        189 Poutry Dr.                     Charleston, WV 25309
Palliativie Care/ Pain CNS        Newport, VT 05855                  Phone: 203-746-9950
Carilion Health System            Phone: 802-334-6140                Hersha.ArnoldBrown@cancer.or
pwhitehead@carilion.com           Fax: 802-334-8271                  g
                                  nekpci@sover.net
                                  Marilyn Rinker, RN, MSN, OCN,
                                  APN
                                  Associate Professor and
                                  Program Chair
                                  Nursing Department
                                  Norwich University
                                  Northfield, VT 05663
                                  mrinker@norwich.edu
